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                                              TRINITY

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Complaints Department
Law Society of Scotland
26 Drumsheugh Gardens
Edinburgh
EH3 7YR

20th November 2001

RE: Fiona Muir / Fiona Harvey / Fiona Briony Harvey

You may recollect that I wrote to the Society on 31st October 1997 about the above named person's
appalling behaviour which lead to her dismissal from my then firm, L &L Lawrence, after only a
few days. I enclose copies of the correspondence between ourselves including a detailed description
of the events leading up to and immediately after her dismissal. As you may be aware I am now a
consultant with Messrs Drummond Miller.

For the past four years I have been subjected to continued harassment from her and I am concerned
to discover that she is still attempting to enter the legal profession. I have been contacted by the
solicitors acting for her most recent former employers, Messrs Craxton Grant, who were apparently
advised by yourselves that there had been no prior complaints about this person. I would like to
ensure that you are aware that the person formally known as "Fiona Muir" is the same person who
now alternately styles herself "Fiona Harvey" and "Fiona Briony Harvey".

I wish to reiterate to you that it is my strong view that this person is not fit to be admitted as a
solicitor, that in terms of the harassment and threats made regarding myself and others that she is a
danger to members of the profession, and given that her threats have escalated to a recent threat to
kill my husband, James Wray, MP for Glasgow Baillieston, that she is a danger to the public.

I enclose some copy notes she has written which give you the flavour of the harassment I have
endured — there are many more but some are so highly defamatory that I would consider taking
legal action if she had any assets. I also enclose a copy of a newspaper article in the Sunday Mail,
which was not, I hasten to add, instigated by myself but which arose when the newspaper contacted
me about Ms Muir's activities. Her modus operandi is to leave defamatory messages on other
people's answerphones and to write to other people regarding myself. She continues to telephone
the offices of Drummond Miller, my husband' office in Westminster and the offices of at least one
other MP, and has even sent a letter defamatory of myself and my husband to the Prime Minister.

She further threatened that if my husband and I turned up at the Court of Session to pursue my
husband's defamation action against the Mail on Sunday newspaper that she would kill us.



Understandably I was concerned for my safety, as my husband spends most of the week in London
and I am at home with a small child, and my husband and I contacted the CID in Glasgow.



               Trinity Properties, 12 Sunningdale Avenue, Newton Mearns, Glasgow G77 5P1)
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Bizarrely on the first day of the hearing in Edinburgh Bruce Ritchie of the Law Society advised me
that she had phoned him that morning to say she had intended to come through to Edinburgh for the
hearing, but had workmen in and "was too busy".

I have kept hoping that she would get fed up if I did not respond to her, but she then wrote to
yourselves on 5th May 2000 making a complaint about me, which is essentially a series of
defamatory remarks rather than a complaint. I found the terms of this most distressing, in particular
her nasty comments about my little boy whom she describes as "backward". Suffice to say the
Society took no action against myself, but I am most unhappy that this person is seeking to abuse a
legitimate procedure to give herself a platform on which to harass and defame others.

Then around September of this year we were contacted by the office of John Robertson MP for
Glasgow Anniesland (who is Ms Muir's MP) who was concerned by a message left on his
answerphone by Ms Muir to the effect that she had had enough and was now going to kill Jimmy
Wray.

In October of this year I commenced classes in European Law and Private International Law with a
view to going to the Bar in October next year. On my first day there I encountered Ms Muir, and I
spoke to the Head of the Law Faculty. She then disappeared for some weeks and I hoped she would
not return. She reappeared in early November and has attempted to intimidate me- on one occasion
she appeared at my side shoulder to shoulder with me as I waited for an escalator, she stares across
the room at me, has followed me as I attempted to enter the cafeteria, and has approached other
students, whom she does not know, simply because she has seen me talking to them. In the
circumstances you can appreciate that her mere presence is enough to unnerve me, but I feel she is
growing bolder in her physical approaches to me and I continue to fear for my safety.

In the circumstances I wish to know what action the Law Society will take with regard to Ms Muir.
It seems to me that she has had numerous chances to redeem herself and has not done so, and that
the individuals such as myself and Mr Craxton who have gone out of our way to extend a helping
hand to her invariably become targets against whom she directs her vitriol. Surely the time has
come for the Law Society to exclude Ms Muir from the profession before her behaviour becomes
totally out of control, if it is not already.

Yours Sincerely




Laura Wray MA LLB DipLP.




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